Case 1:07-cv-00274-REB-BNB Document 5 Filed 03/01/07 USDC Colorado Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Civil Action No. 07-cv-00274-REB-BNB

 DEBRA FOGLE,

                 Plaintiff,

 v.

 VALENTINE & KEBARTAS, INC., a Massachusetts corporation,

                 Defendant.


                   NOTICE OF DISMISSAL WITH PREJUDICE
  ______________________________________________________________________

          COMES NOW the Plaintiff by her undersigned attorney of record who hereby

 notifies the Court that the parties have settled this case and pursuant to Rule 41(a)(1)(i)

 of the Federal Rules of Civil Procedure hereby dismisses this case with prejudice and

 on the merits pursuant hereto with each party to pay her or its own attorney’s fees and

 costs.


 Dated: March 1, 2007.



                                           _s/ David M. Larson________________
                                           David M. Larson, Esq.
                                           Attorney for the Plaintiff
                                           405 S. Cascade Avenue Suite 305
                                           Colorado Springs, CO 80903
                                           (719) 473-0006
